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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                SHREVEPORT DIVISION


JOHN COLE                     *                        Civil Action No.:
                              *
         Plaintiff,           *
                              *                        MAGISTRATE:
VS.                           *
                              *
QUALITY CARRIERS, INC., A     *
SUBSIDIARY OF CSX CORPORATION *                        JUDGE:
                              *
         Defendant.           *
                              *                        JURY TRIAL REQUESTED

                                    ORIGINAL COMPLAINT

       JOHN COLE (“Plaintiff”), by and through his attorneys, brings this action for damages

and other legal and equitable relief from the Defendant’s violation of the laws proscribing

discrimination based on race and for acts of retaliation against QUALITY CARRIERS, INC., A

SUBSIDIARY OF CSX CORPORATION (“Defendant”).

                                        INTRODUCTION

       This is an action brought by Plaintiff seeking damages from Defendant for acts of

intentional discrimination based on race, as well as for acts of retaliation because Plaintiff engaged

in protected activity. Defendant’s acts of discrimination and retaliation are in violation of Title VII

of the Civil Rights Act of 1964, as amended (“Title VII”), 42 U.S.C. § 2000e, et seq., the Civil

Rights Act of 1866, as amended, 42 U.S.C. § 1981, et seq.; (§ “1981”), § 102 of the 1991 Civil

Rights Act, and the Louisiana Employment Discrimination Law, La. Stat. § 23:332 et seq.

(“LEDL”), and any other cause(s) of action that can be inferred from the facts set forth herein.
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                                 JURISDICTION AND VENUE

       1.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331, which

confers original jurisdiction upon this Court for actions arising under the laws of the United States,

and pursuant to 28 U.S.C. §§ 1343(3) and 1343(4), which confer original jurisdiction upon this

Court in a civil action to recover damages or to secure equitable relief (i) under any Act of Congress

providing for the protection of civil rights; (ii) under the Declaratory Judgment Statute, 28 U.S.C.

§ 2201; (iii) 42 U.S.C. § 1981, et seq., as amended, and Title VII of the Civil Rights Act of 1964,

as amended, 42 U.S.C. 2000e, et seq., as amended. This Court also has jurisdiction over this action

pursuant to 28 U.S.C. § 1367, which confers supplemental jurisdiction upon this Court for all other

claims that are so related to claims in the action within such original jurisdiction that they form

part of the same case or controversy under Article III of the United States Constitution.

       1.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b) because a substantial

part of the events or omissions giving rise to the claims asserted herein occurred in this District.

Venue is also proper under §706 of Title VII, 42 U.S.C. § 2000e-5(3)(f), in that the acts complained

of herein, including unlawful employment practices, occurred within the federal District over

which this Court has jurisdiction.

                                             PARTIES

       3.      At all relevant times, Defendant has continuously been and are now doing business

in the State of Louisiana and has continuously had at least fifteen employees.

       4.      At all relevant times, Defendant has continuously been an employer engaged in an

industry affecting commerce under § § 701(b), (g) and (h) of Title VII, 42 U.S.C. §2000e-

(b), (g) and (h), § 1981 and the Louisiana Employment Discrimination Law.




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       5.        Defendant is a subsidiary of a Fortune 500 publicly traded company and operates

the largest liquid bulk chemical trucking network in North America with trucking terminals across

North America. Defendant is headquartered at 1208 East Kennedy Boulevard, Suite 132, Tampa,

Florida 33602.

       6.        At all relevant times, Plaintiff worked at trucking terminal Quality Carriers, Inc.

#192. (“QC-192”), which is owned and operated by Defendant. The trucking terminal is located

at 5500 Commerce Dr, Bossier City, Louisiana 71111.

       7.        At all relevant times, Plaintiff was an employee of Defendant as that term is defined

in Title VII, § 1981 and the Louisiana Employment Discrimination Law.

       8.        Plaintiff is African American.

             EXHAUSTION OF FEDERAL ADMINISTRATIVE REMEDIES

       9.        Plaintiff has timely filed a charge of discrimination with the Equal Employment

Opportunity Commission (“EEOC”), which constitutes across-filing with the Louisiana

Commission on Human Rights, on December 18, 2020.

       10.       Plaintiff requested his Notice of Right to Sue from the EEOC on August 17, 2021,

within ninety (90) days prior to the filing of this Complaint.

                                FACTS UNDERLYING CLAIMS

       11.       Plaintiff began working for Defendant as a “Preloader” Driver in Defendant’s Fort

Worth, Texas terminal on or around September 5, 2018.

       12.       As a Preloader Driver, Plaintiff’s responsibilities included loading chemical freight

at a customer of Defendant work site, driving said chemical freight to a trucking terminal of

Defendant, and transferring a chemical freight delivery to another driver.




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       13.     A position as a Preloader Driver is a desirable and preferred position with

Defendant, as a Preloader Driver has a stable, predictable schedule with the ability to be home

each night.

       14.     Upon information and belief, Defendant’s Forth Worth Terminal lost a major

trucking and delivery contract. As a result of losing the contract, the terminal became overstaffed.

       15.     Plaintiff was then offered the opportunity to transfer to Defendant’s Terminal, QC-

192, in Bossier City, Louisiana.

       16.     Plaintiff accepted the opportunity with the conditions that Plaintiff’s schedule and

role as a Preloader Driver would remain unchanged.

       17.     Plaintiff was able to confirm the conditions of the transfer with Sam McCullough,

the Terminal Manager of QC-192 at that time.

       18.     Plaintiff then transferred to QC-192 in or around February 2019.

       19.     Shortly after the transfer, Plaintiff discovered all of the management at QC-192

were White.

       20.     Additionally, in or around March 2019, Mr. McCullough was replaced by another

White employee, John Beasley. Mr. Beasley was then the Terminal Manager of QC-192. Mr.

McCullough became the Load manager at QC-192.

               DISCRIMINATORY ASSIGNMENTS AND UNEQUAL PAY

       21.     In or around June 2019, Plaintiff approached his supervisor, Mr. Beasley, about

issues related to compensation. At that time, Plaintiff was paid $60.00 per load as a Preloader

Driver. Plaintiff spoke with Mr. Beasley about a pay increase or a switch to another position in

order to earn more income.




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       22.     Mr. Beasley then made Plaintiff aware that, in two weeks, Preloader Drivers would

receive a pay increase. The pay per load would increase from $60.00 per load to $125.00 per load.

       23.     Upon information and belief, in the same conversation, Mr. Beasley told Plaintiff

that he and QC-192 needed Plaintiff to remain as a Preloader Driver as Plaintiff was always on

time and reliable.

       24.     Based on knowledge of a pay increase per load, Plaintiff’s concerns about

compensation were relieved. Plaintiff then continued his work as a Preloader Driver.

       25.     Upon information and belief, two weeks later, in or around the end of June 2019,

the Preloader pay per load was increased to $125.

       26.     At or around the same time, Plaintiff noticed that he had been taken off Preloading

work. As a result, Plaintiff was not benefiting from the pay increase. Plaintiff was not given any

notice or explanation regarding his removal from Preloading work.

       27.     Plaintiff then approached Mr. Beasley regarding the Plaintiff’s issues with

Preloader work. Mr. Beasley confirmed that Plaintiff had been removed from Preloader work.

       28.     Plaintiff sought an explanation for his removal. Mr. Beasley explained that Plaintiff

was removed due to issues with timeliness. Plaintiff was confused as he had no issues with

timeliness, had not received any verbal or written warnings related to timeliness, and had been

commended by Mr. Beasley on timeliness two weeks prior.

       29.     Shortly after meeting with Mr. Beasley, Plaintiff discovered that a White driver had

taken Plaintiff’s Preloading work and effectively replaced Plaintiff as a Preloader Driver. Further,

the White driver was less qualified and less experienced than Plaintiff for Preloading work.




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       30.     Upon information and belief, Mr. Beasley and QC-192 management discriminated

against Plaintiff on the basis of race by replacing him with a White driver. As a result, the White

driver received the significant increased pay per load, not Plaintiff.

       31.     On or around June 25, shortly after discovering the apparent race discrimination,

Plaintiff chose to email his Driver Retention Specialist, Marsha Brown. Plaintiff emailed Ms.

Brown about the issues with Preloading work and the discrimination at QC-192. Plaintiff sought

help from Ms. Brown related to these issues.

       32.     At that time, Plaintiff was not aware or given notice that he could report race

discrimination directly to Defendant’s Human Resources department (“HR”).

       33.     Ms. Brown, upon learning about the discrimination, informed Plaintiff that she

would direct Defendant’s Human Resources Department to contact Plaintiff.

       34.     On or around June 26, 2019, Defendant’s Senior Vice President of HR at the

relevant times, Melissa Ernst, emailed Plaintiff to arrange a phone call between them. Later that

day, Ms. Ernst and Plaintiff spoke on the phone regarding Plaintiff’s experiences of race

discrimination.

       35.     In or around July 2019, Ms. Ernst and Defendant’s HR investigated QC-192 on the

basis of discriminatory assignments with Plaintiff’s removal from Preloading work.

       36.     Upon information and belief, the investigation into Plaintiff’s complaint concluded

that QC-192 had discriminated against Plaintiff by removing him from Preloading work and

replacing him with a White driver.

       37.     As a result, on or around July 27, 2019, Ms. Ernst restored Plaintiff’s role as a

Preloader Driver at QC-192.




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       38.     Upon information and belief, Defendant did not take any other corrective action.

Further, QC-192’s management was not changed, and Mr. Beasley remained at Terminal.

       39.     After these events, Plaintiff continued to work on a consistent schedule as a

Preloader Driver.

       40.     However, in or around January 2020, QC-192 began having financial difficulties.

       41.     In response, on or around February 9, 2020, QC-192 management decided to

eliminate all Preloader Driver positions. Further, the pay was decreased to $80.00 per load for any

preload work. Additionally, guaranteed pay promises per week were eliminated.

       42.     QC-192 management also eliminated any and all set Driver schedules. Instead, the

driver dispatchers at QC-192 would dictate each Driver’s work assignments and schedule.

       43.     Upon information and belief, the changes led to Plaintiff and other similarly

situated Black Drivers to consistently be denied work opportunities.

       44.     The all-White driver dispatchers at QC-192 used the new policies to consistently

prefer assigning work to White Drivers, over Plaintiff and other similarly situated Black Drivers.

The effect was more pronounced as work opportunities at QC-192 became limited.

       45.     Upon information and belief, when work was limited, White Drivers were paid up

to $1250 more per week compared to Plaintiff and other similarly situated Black drivers.

       46.     Further, upon information and belief, the all-White driver dispatchers used the new

policies to consistently prefer assigning the easiest or shortest drive time work to White Drives,

over Plaintiff and other similarly situated Black Drivers.

       47.     As a result, Plaintiff and other similarly situated Black drivers were assigned

driving work on an unpredictable schedule, and were assigned work that was more difficult or

included longer drive times.



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                                         RETALIATION

       48.     In or around August 2019, shortly after the investigation into Plaintiff’s original

discrimination complaint, QC-192 management and driver dispatchers began retaliating against

Plaintiff through a campaign of targeted harassment.

       49.     Upon information and belief, the targeted harassment was intended to create

reasons to terminate Plaintiff’s employment.

       50.     The targeted harassment included attempts to make Plaintiff late on his work,

attempts to sabotage Plaintiff’s work, creating barriers for Plaintiff to complete his work, altering

Plaintiff’s work schedule, and seeking reasons to discipline Plaintiff.

       51.     Upon information and belief, in a specific attempt to sabotage Plaintiff’s work,

members of QC-192 management provided Plaintiff with fake or counterfeit paperwork on several

occasions. Plaintiff could have been formally disciplined or terminated for filing fake or

counterfeit paperwork.

       52.     In or around March 2020, Plaintiff finally reported the targeted harassment and

retaliation to Ms. Ernst and Defendant’s HR. Defendant’s HR then conducted an investigation into

Plaintiff’s complaint.

       53.     Upon information and belief, Defendant’s HR determined that QC-192

management and driver dispatchers had retaliated against Plaintiff through targeted harassment.

Specifically, the investigation determined that QC-192 management had incorrectly used

administrative and paperwork practices to harass Plaintiff.

       54.     As a result of the investigation, Ms. Ernst personally called Plaintiff to apologize

for the actions of QC-192 management and driver dispatchers. Plaintiff was also switched to a

different driver dispatcher.



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        55.     However, no other corrective action was taken. Upon information and belief,

Defendant did not discipline or take adverse action against the involved employees.

        56.     Ultimately, the lack of corrective action allowed the retaliation and harassment to

continue after Plaintiff filed a complaint with Defendant’s HR.

        57.     After these events, Plaintiff overheard QC-192 management and dispatchers

discussing being wary of Plaintiff because “he would report to HR.”

        58.     In or around March 2020, Mr. Beasley had a conversation with Plaintiff where Mr.

Beasley explicitly told Plaintiff that he would not be any forced dispatches. Plaintiff left the

conversation with the understanding that he had the right to refuse certain dispatched driving

assignments.

        59.     After this conversation, in or around May 2020, Mr. Beasley retaliated against

Plaintiff by arranging Plaintiff to be given driving assignments that involved the transportation of

dangerous chemicals, specifically jet fuel and kerosene. Further, the pay per load on these

assignments was lower than other assignments.

        60.     In order to safely load and drive these dangerous chemicals, a Driver needs to wear

a properly fitted respirator as the inhalation of these chemicals can cause serious health issues.

Drivers are required to have a valid, unexpired personal fit test for the respirator. Additionally, a

valid personal fit test only lasts for one year.

        61.     At the time, Plaintiff did not possess a valid, unexpired personal fit test for a

respirator as Plaintiff’s personal fit test had expired. Plaintiff informed his driver manager and Mr.

Beasley that Plaintiff could not safely do the assigned dangerous chemicals loads. However, QC-

192 management attempted to force Plaintiff to do the dangerous assignment without a respirator.




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        62.     As a result, Plaintiff formally refused the dangerous dispatched driving

assignments.

        63.     On or around May 11, 2020, Mr. Beasley then reported Plaintiff’s refusal to

Defendant’s Employee Relations Manager, Alicia Kriz, and sought approval to terminate Plaintiff.

        64.     On or around May 14, 2020, approval was given to terminate Plaintiff on the basis

of the legitimate refusal of the dangerous driving assignment.

        65.     Plaintiff was then formally terminated as an employee on or around May 16, 2020.

        66.     Throughout Plaintiff’s employment with Defendant, Plaintiff was an exemplary

employee. Plaintiff rarely took time off, did not have disciplinary write-ups until the retaliation

occurred, and was even sent to a work conference for his exemplary work.

        67.     Defendant terminated Plaintiff in retaliation for his reporting of discrimination and

relation based on race.

                                       CAUSES OF ACTION

                                     Count I
               EMPLOYMENT DISCRIMINATION ON THE BASIS OF RACE
                             42 U.S.C. § 1981, et seq.

        68.     Plaintiff repeats and re-alleges the allegations contained in the paragraphs above,

as if fully set forth herein.

        69.     The conduct alleged herein violates 42 U.S.C. § 1981, et seq., as the Defendant has

engaged in the practice of race discrimination including disparate treatment in the terms and

conditions of his employment, including but not limited to discriminatory work assignments and

disparate unequal pay.

        70.     Plaintiff’s requests for relief are set forth below.




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                                     Count II
                    EMPLOYMENT DISCRIMINATION – RETALIATION
                               42 U.S.C. § 1981, et seq.

        71.     Plaintiff repeats and re-alleges the allegations contained in the paragraphs above,

as if fully set forth herein.

        72.     Plaintiff reported the discriminatory treatment to which he was subjected.

        73.      Defendant retaliated against Plaintiff by subjecting Plaintiff to reduced work hours,

reduced pay, disparate discipline, sabotaged work, dangerous work conditions, and terminating his

employment in response to his complaints about discrimination and retaliation.

        74.     Plaintiff’s requests for relief are set forth below.

                                          Count III
              EMPLOYMENT DISCRIMINATION ON THE BASIS OF RACE
                   Title VII of the Civil Rights Act of 1964, as amended
                                  42 U.S.C. § 2000e, et seq.

        75.     Plaintiff repeats and re-alleges the allegations contained in the paragraphs above,

as if fully set forth herein.

        76.     The conduct alleged herein violates Title VII as the Defendant has engaged in the

practice of discrimination against the Plaintiff based on his race, Black, by subjecting him to

disparate treatment in the terms and conditions of his employment, including but not limited to

discriminatory work assignments and disparate unequal pay.

        77.     Plaintiff’s requests for relief are set forth below.

                                             Count IV
                    EMPLOYMENT DISCRIMINATION - RETALIATION
                      Title VII of the Civil Rights Act of 1964, as amended
                                     42 U.S.C. § 2000e, et seq.

        78.     Plaintiff repeats and re-alleges the allegations contained in the paragraphs above,

as if fully set forth herein.



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        79.     Plaintiff reported discriminatory treatment based on race, Black.

        80.     Defendant retaliated against Plaintiff as to the terms and conditions of his

employment through subjecting Plaintiff to reduced work hours, reduced pay, disparate discipline,

sabotaged work, dangerous work conditions, and by terminating him in retaliation for engaging in

protected activity.

        81.     Plaintiff’s requests for relief are set forth below.

                                          Count V
              EMPLOYMENT DISCRIMINATION ON THE BASIS OF RACE
              Louisiana Employment Discrimination Law, La. Stat. § 23 :332, et seq.

        82.     Plaintiff repeats and re-alleges the allegations contained in the paragraphs above,

as if fully set forth herein.

        83.     The conduct alleged herein violates Louisiana Employment Discrimination Law,

La. Stat. § 23:332 et seq., as the Defendant has committed discrimination on the basis of race by

subjecting him to disparate treatment in the terms and conditions of his employment, including but

not limited to discriminatory work assignments and disparate unequal pay.

        84.     Plaintiff’s requests for relief are set forth below.

                                          Count VI
                  EMPLOYMENT DISCRIMINATION – RETALIATION
              Louisiana Employment Discrimination Law, La. Stat. § 23 :332, et seq.

        85.     Plaintiff repeats and re-alleges the allegations contained in the paragraphs above,

as if fully set forth herein.

        86.     Plaintiff reported the discriminatory treatment to which he was subjected.

        87.     The conduct alleged herein violates Louisiana Employment Discrimination Law,

La. Stat. § 23:332 et seq. as Defendant have engaged in retaliation by, among other things,

subjecting Plaintiff to reduced work hours, reduced pay, disparate discipline, sabotaged work,



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dangerous work conditions, and terminating his employment in response to his complaints about

discrimination and retaliation.

       88.     The Plaintiff’s requests for relief are set forth below.

                                  DEMAND FOR JURY TRIAL

       89.     Plaintiff demands a jury trial on all matters raised in this Complaint.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for the following relief:

       90.     That the practices of the Defendant complained of herein be determined and

adjudged to be in violation of the rights of Plaintiff under the federal and state laws identified

above prohibiting discrimination and retaliation in employment;

       91.     That judgment be entered in favor of Plaintiff as set forth herein, and against

Defendant, for back pay (including interest or an appropriate inflation factor), front pay, benefits

and all other amounts owed to Plaintiff;

       92.     That Plaintiff be awarded compensatory damages for his employment

discrimination claims including for future pecuniary losses, emotional pain, suffering,

inconvenience, mental anguish, loss of enjoyment of life, and other nonpecuniary losses;

       93.     That Plaintiff be awarded punitive damages for discriminatory practices done with

malice or with reckless indifference to the federally protected rights of Plaintiff;

       94.     That Plaintiff be awarded pre-and post-judgment interest;

       95.     That the Court award Plaintiff reasonable attorneys’ fees and costs associated with

this matter, including but not limited to expert fees and costs;

       96.     That the Defendant be ordered to require training regarding discrimination based

upon race and discrimination based on retaliation.



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       97.     That the Court retain jurisdiction over Defendant until such time as it is satisfied

that it has remedied the practices complained of and is determined to be in full compliance with

the law; and

       98.     That the Plaintiff be awarded such other and further legal and equitable relief as

may be found appropriate and as the Court may deem just or equitable.

Dated: November 15, 2021.

                                             Respectfully submitted:

                                             By:/s/ Philip Bohrer
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